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                         Exhibit 1

                      Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. No. __



     ORDER (A) AUTHORIZING THE ENTRY INTO, AND PERFORMANCE UNDER,
      THE GLOBAL SETTLEMENT AGREEMENT AMONG THE FTX DEBTORS,
    EMERGENT FIDELITY TECHNOLOGIES LTD, THE JOINT LIQUIDATORS, AND
    FULCRUM DISTRESSED PARTNERS LIMITED; (B) APPROVING THE GLOBAL
        SETTLEMENT AGREEMENT; AND (C) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated debtors and

debtors-in-possession (collectively, the “FTX Debtors”) and Emergent Fidelity Technologies Ltd.

as debtor and debtor-in-possession (“Emergent”) for entry of an order (this “Order”)

(a) authorizing the FTX Debtors’ and Emergent’s entry into, and performance under, the Global

Settlement Agreement attached hereto as Exhibit A, (b) approving the Global Settlement

Agreement, and (c) granting certain related relief; and this Court having jurisdiction to consider

the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court being able to issue a final order consistent with Article III of the United States

Constitution; and venue of these Chapter 11 Cases and the Motion in this district being proper


1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     FTX Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
     list of such information may be obtained on the website of the FTX Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

2
     Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.



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pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant to

28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the Motion

and the relief requested therein has been provided in accordance with the Bankruptcy Rules and

the Local Rules, and that, except as otherwise ordered herein, no other or further notice is

necessary; and objections (if any) to the Motion having been withdrawn, resolved or overruled on

the merits; and upon the record of these Chapter 11 Cases, the Motion and supporting documents;

and this Court having found and determined that the relief set forth in this Order is in the best

interests of the FTX Debtors and their estates, and Emergent and its estate; and that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.   The Motion is GRANTED as set forth herein.

                  2.   The FTX Debtors are authorized to enter into, and perform under, the

Global Settlement Agreement.

                  3.   Emergent is authorized to enter into, and perform under, the Global

Settlement Agreement.

                  4.   The terms of the Global Settlement Agreement are approved in their

entirety.

                  5.   The failure to specifically include or reference any particular term or

provision of the Global Settlement Agreement in this Order shall not diminish or impair the

effectiveness of such term or provision.




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                  6.    On the Settlement Effective Date, all claims asserted by Emergent against

the FTX Debtors are hereby deemed WITHDRAWN with prejudice and EXPUNGED, including

the following proofs of claim: Claim Nos. 3838, 4228, 4236, and 4237 filed by Toni Shukla as

Joint Liquidator.

                  7.    The FTX Debtors and Emergent are authorized and empowered to execute

and deliver such documents, and to take and perform all actions necessary to implement and

effectuate the relief granted in this Order.

                  8.    The requirements set forth in Bankruptcy Rule 6004(a) are waived.

                  9.    This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

                  10.   The Court shall retain jurisdiction with respect to any matters, claims, rights

or disputes arising from or related to the Motion or the implementation of this Order.


 Dated: ___________________
        Wilmington, Delaware                           The Honorable John T. Dorsey
                                                       Chief United States Bankruptcy Judge




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                         Exhibit A

                Global Settlement Agreement
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                                                                                  EXECUTION VERSION


                             GLOBAL SETTLEMENT AGREEMENT

               This Global Settlement Agreement, dated as of August 14, 2024 (the “Global
Settlement Agreement”) is made and entered into by and among: (i) FTX Trading Ltd. and its
affiliated debtors and debtors-in-possession (the “FTX Debtors”) 1 in the jointly-administered
chapter 11 cases captioned In re FTX Trading Ltd., et al., No. 22-11068 (JTD) (the “FTX
Bankruptcy Proceedings”); (ii) Emergent Fidelity Technologies Ltd. as debtor and debtor-in-
possession (“Emergent”) in the chapter 11 case captioned In re Emergent Fidelity Technologies
Ltd., No. 23-10149 (JTD) (Bankr. D. Del.) (the “Emergent Bankruptcy Proceedings”); (iii) Angela
Barkhouse and Toni Shukla in their capacity as the joint liquidators appointed for Emergent by the
Eastern Caribbean Supreme Court, High Court of Justice, Antigua and Barbuda (the “Joint
Liquidators”), (iv) Fulcrum Distressed Partners Limited (“Fulcrum,” and together with the FTX
Debtors, Emergent and the Joint Liquidators, each a “Party” and collectively, the “Parties”). The
Parties hereby agree as follows:

               WHEREAS, on November 11 and 14, 2022, the FTX Debtors filed their respective
petitions for voluntary relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the
“Delaware Bankruptcy Court”) initiating the FTX Bankruptcy Proceedings;

               WHEREAS, on November 18, 2022, the Eastern Caribbean Supreme Court, High
Court of Justice, Antigua and Barbuda (the “Antigua Court”) placed Emergent into receivership
and appointed Angela Barkhouse and Toni Shukla as receivers over the equity in Emergent; on
December 5, 2022, the Antigua Court appointed Ms. Barkhouse and Ms. Shukla as Joint
Provisional Liquidators of Emergent; and on July 14, 2023, the Antigua Court appointed Ms.
Barkhouse and Ms. Shukla as Joint Liquidators of Emergent (collectively, the “Antigua
Proceedings”);

              WHEREAS, on November 28, 2022, BlockFi Inc., BlockFi Lending LLC, and
BlockFi International LLC (collectively, “BlockFi”) commenced an adversary proceeding against
Emergent captioned BlockFi Inc., et al. v. Emergent Fidelity Technologies Ltd, et al., No. 22-01382
(Bankr. D.N.J.) (the “BlockFi Action”), seeking, among other things, to enforce a purported
guaranty and pledge made by Emergent for BlockFi’s benefit;

               WHEREAS, on or around December 9, 2022, the U.S. Department of Justice
commenced the federal criminal case United States v. Bankman-Fried, No. 22-673 (LAK)
(S.D.N.Y.) (the “Criminal Case”);

                WHEREAS, on or around January 4, 2023, the U.S. Marshals Service seized
property formerly held in a brokerage account in the name of Emergent, including approximately
55 million shares of Robinhood Markets, Inc. Class A stock (the “Robinhood Shares”) and
approximately $20.7 million in cash (the “Seized Cash”), and the U.S. Department of Justice now
seeks forfeiture of these assets in connection with the Criminal Case;



1
 A complete list of the FTX Debtors may be obtained on the website of the FTX Debtors’ claims and noticing agent
at https://cases.ra.kroll.com/FTX. The term “FTX Debtors” does not include Emergent.
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             WHEREAS, on February 3, 2023, Emergent commenced the Emergent
Bankruptcy Proceedings by filing a voluntary petition for relief under chapter 11 of the Bankruptcy
Code in Delaware Bankruptcy Court;

               WHEREAS, on April 10, 2023 and May 10, 2023, the Delaware Bankruptcy Court
entered interim and final orders, respectively, authorizing joint administration of the Emergent
Bankruptcy Proceedings with the FTX Bankruptcy Proceedings;

              WHEREAS, the Joint Liquidators and Emergent have retained various
professionals in connection with the Antigua Proceedings and the Emergent Bankruptcy
Proceedings (the “Emergent Professionals”);

                WHEREAS, on June 28, 2023, Emergent filed four proofs of claim against the
FTX Debtors in the FTX Bankruptcy Proceedings as set forth on Exhibit A attached hereto
(collectively, the “Emergent Proofs of Claim,” and the claims asserted therein, the “Emergent
Claims”);

                WHEREAS, on or about September 1, 2023, the United States Department of
Justice liquidated the Robinhood Shares, and the proceeds of that sale (the “Robinhood Proceeds”),
together with the Seized Cash, are currently being held by the Department of Justice subject to the
resolution of forfeiture proceedings in the Criminal Case;

                WHEREAS, on March 6, 2024, the FTX Debtors sought approval from the
Delaware Bankruptcy Court to enter into a settlement with BlockFi that provided for, among other
things, the assignment of the purported claims asserted by BlockFi in the BlockFi Action to the
FTX Debtors (the “BlockFi Settlement”);

              WHEREAS, on March 25, 2024, the Delaware Bankruptcy Court approved the
BlockFi Settlement;

                WHEREAS, on June 13, 2024, Emergent and the Joint Liquidators each filed a
petition in the Criminal Case asserting interests in and rights to the Robinhood Proceeds and the
Seized Cash that (the “Emergent Forfeiture Petitions”);

               WHEREAS, on June 14, 2024, the FTX Debtors filed a petition in the Criminal
Case asserting interests in and rights to, among other seized assets, the Robinhood Proceeds and
the Seized Cash (the “FTX Debtors Forfeiture Petition”);

               WHEREAS, on February 2, 2023, Emergent, the Joint Liquidators, and Fulcrum
entered into that certain Liquidation Funding Agreement (the “Financing Agreement”), pursuant
to which Emergent has borrowed a total of $4,496,882.88 to date;

                WHEREAS, each Party has an interest in avoiding the burden, cost, uncertainty
and expense that would be associated with litigation of their respective rights and obligations with
respect to the Robinhood Shares, the Robinhood Proceeds, the Seized Cash, the Emergent Proofs
of Claim, the FTX Debtors’ claims against Emergent, the Financing Agreement, amounts
purportedly owed to the Emergent Professionals, the resolution of the Emergent Bankruptcy
Proceedings, and the Antigua Proceedings (collectively, the “Open Matters”);


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              WHEREAS, without any admission by any Party, and subject to the terms of this
Global Settlement Agreement, the Parties desire to finally resolve and settle all disputes between
them regarding the Open Matters and certain related issues as set forth herein;

               NOW, THEREFORE, in consideration of the above and the respective promises,
conditions, terms and agreements contained herein, and other good and valuable consideration, the
receipt and adequacy of which are hereby acknowledged, the Parties hereby agree as follows:

1.     AGREEMENTS OF THE PARTIES

       (a)     Settlement Payment by the FTX Debtors. No later than fourteen (14) days after the
occurrence of the Settlement Effective Date, the FTX Debtors will pay $14,000,000 U.S. dollars
to Emergent by wire transfer (the “Settlement Payment,” and the date on which the Joint
Liquidators receive the Settlement Payment, the “Settlement Payment Date”).

       (b)     Waiver and Release of Claims.

               (i)     On the Settlement Payment Date, except as required to implement the
Assignment of Rights below, Emergent hereby waives and releases for all purposes any and all
Claims (as defined in 11 U.S.C. § 101(5)) against the FTX Debtors or with respect to any property
in which the FTX Debtors have held or may hold any conflicting interest, including (1) the
Emergent Claims and all other claims, arguments, defenses, rights, and otherwise with respect to
any property transferred between and among Emergent and the FTX Debtors, and (2) the
Robinhood Shares, the Robinhood Proceeds, and the Seized Cash.

              (ii)   On the Settlement Payment Date, the releases set forth in Section 2 of this
Global Settlement Agreement shall become effective.

              (iii) As of the Settlement Payment Date, all of the Emergent Proofs of Claim
shall be deemed disallowed and expunged in the FTX Bankruptcy Proceedings.

                (iv)   Promptly upon the occurrence of the Settlement Payment Date, Emergent
shall withdraw the Emergent Forfeiture Petitions, with prejudice, and none of Emergent, the Joint
Liquidators, the Emergent Professionals, or Fulcrum will seek to recover from any assets seized
or forfeited by the U.S. Department of Justice relating to the FTX Debtors.

       (c)     Assignment of Rights.

                (i)     On the Settlement Payment Date, Emergent and the Joint Liquidators shall
be deemed to have assigned to the FTX Debtors all of their rights (if any) with respect to the
Robinhood Shares, the Robinhood Proceeds, and the Seized Cash held by the U.S. Department of
Justice, including in connection with any forfeiture, restitution or other legal proceeding, process,
or distribution with respect to such assets. Emergent and the Joint Liquidators shall, upon
reasonable request of the FTX Debtors, execute documentation confirming the assignment of such
rights to the FTX Debtors.

               (ii)    Upon the Execution of this Global Settlement Agreement, Emergent, the
Joint Liquidators and the FTX Debtors shall use commercially reasonable efforts to cooperate to


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promptly obtain agreement from the U.S. Department of Justice to release to the FTX Debtors the
Robinhood Proceeds and the Seized Cash.

         (d)    Emergent and Fulcrum Support for FTX Plan. On the Settlement Effective Date,
Emergent, the Joint Liquidators, and Fulcrum shall not (i) object or, directly or indirectly, seek,
solicit, support, encourage, or participate in any discussions or agreement to object, to any FTX
Plan so long as such plan is consistent with the terms and conditions of this Global Settlement
Agreement; or (ii) appear or make any filings in the FTX Bankruptcy Proceedings, the Emergent
Bankruptcy Proceedings, or the Antigua Proceedings in any way adverse to any position taken by
the FTX Debtors or inconsistent with the Global Settlement Agreement other than as necessary to
exercise or defend their rights under this Global Settlement Agreement.

         (e)    Approval of Global Settlement Agreement. Within fourteen (14) days of execution
of this Global Settlement Agreement, (i) the FTX Debtors shall file a motion seeking approval of
this Global Settlement Agreement under Federal Rule of Bankruptcy Procedure 9019 in the FTX
Bankruptcy Proceedings, (ii) Emergent shall file a motion seeking approval of this Global
Settlement Agreement in the Emergent Bankruptcy Proceedings, and (iii) the Joint Liquidators
shall file a motion (or petition, if applicable) in the Antigua Proceedings seeking approval of this
Global Settlement Agreement (collectively the “Settlement Approval Motions”). The Parties
agree to cooperate and take such actions as are reasonably necessary (including in the event that
an objection or other opposition to the Settlement Approval Motions is filed) to obtain prompt
court approval of, and authority to enter into, this Global Settlement Agreement, and entry of the
Approval Orders (as defined below).

         (f)      Settlement Effective Date. The “Settlement Effective Date” shall occur on the date
that (i) signature pages executed by each of the Parties have been delivered to each of the other
Parties, (ii) the Delaware Bankruptcy Court and the Antigua Court have each entered orders (which
order shall have become a final order not subject to any appeal, stay or pending motion to vacate)
approving the Parties’ entry into this Global Settlement Agreement, on terms and conditions
consistent with this Global Settlement Agreement and otherwise reasonably acceptable to each
Party (the “Approval Orders”), and (iii) either (A) there is agreement between any of the FTX
Debtors and the U.S. Department of Justice providing for the U.S. Department of Justice’s release
of some or all of the Robinhood Proceeds and/or the Seized Cash to any of the FTX Debtors or
(B) the FTX Debtors notify Emergent and the Joint Liquidators in writing that the FTX Debtors
have waived the condition to the Settlement Effective Date set forth in this Section 1(f)(iii).

       (g)     Resolution of the Emergent Bankruptcy Proceedings. The FTX Debtors, Emergent
and the Joint Liquidators agree to work cooperatively to promptly and efficiently conclude the
Emergent Bankruptcy Proceedings following the Settlement Effective Date.

       (h)     BlockFi Action. If still pending, the FTX Debtors shall cause the dismissal or
withdrawal of the BlockFi Action as to Emergent promptly after the Settlement Effective Date.

2.     RELEASES

       (a)      Release of Claims by Emergent, the Joint Liquidators, and Fulcrum. Other than as
expressly set forth in this Global Settlement Agreement, on the Settlement Payment Date, each of



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Emergent, the Joint Liquidators, and Fulcrum, on behalf of itself, and each and all of its respective
current or former affiliates, officers, directors, predecessors, successors and assigns, does hereby
fully, unconditionally and irrevocably release, relieve, waive, relinquish, remise, acquit and
forever discharge the FTX Debtors and their respective current or former affiliates, agents, officers,
directors, advisors, employees, administrators, conservators, predecessors, successors and assigns
from, against, and in respect of any and all past, present and future claims, cross-claims,
counterclaims, third-party claims, demands, liabilities, obligations, debts, liens, damages, losses,
costs, expenses, controversies, actions, rights, suits, assessments, penalties, charges, indemnities,
guaranties, promises, commitments, or causes of action of any nature, whether based in contract,
tort or otherwise, whether in law or equity and whether direct or indirect, known or unknown,
asserted or unasserted, foreseen or unforeseen, liquidated or unliquidated, fixed or contingent, that
such Party has or may have against the FTX Debtors since the beginning of time, under, arising
out of or relating to the Open Matters or any other claims that have been or could be asserted;
provided, however, that the foregoing shall not release (i) any obligation under or claim for breach
of this Global Settlement Agreement or (ii) any claim or defense assertable by Emergent and/or
the Joint Liquidators against Samuel Bankman-Fried in connection with the Antigua Proceedings.

        (b)     Release of Claims by the FTX Debtors. Other than as expressly set forth in this
Global Settlement Agreement, on the Settlement Payment Date, the FTX Debtors, on behalf of
themselves, and each and all of their respective current or former affiliates, officers, directors,
predecessors, successors and assigns, do hereby fully, unconditionally and irrevocably release,
relieve, waive, relinquish, remise, acquit and forever discharge each of Emergent, the Joint
Liquidators, and Fulcrum and their respective current or former affiliates, agents, officers,
directors, advisors, employees, administrators, conservators, predecessors, successors and assigns
from, against, and in respect of any and all past, present and future claims, cross-claims,
counterclaims, third-party claims, demands, liabilities, obligations, debts, liens, damages, losses,
costs, expenses, controversies, actions, rights, suits, assessments, penalties, charges, indemnities,
guaranties, promises, commitments, or causes of action of any nature, whether based in contract,
tort or otherwise, whether in law or equity and whether direct or indirect, known or unknown,
asserted or unasserted, foreseen or unforeseen, liquidated or unliquidated, fixed or contingent, that
such Party has or may have against Emergent, the Joint Liquidators, or Fulcrum since the
beginning of time, under, arising out of or relating to the Open Matters or any other claims that
have been or could be asserted; provided, however, that the foregoing shall not release any
obligation under or claim for breach of this Global Settlement Agreement.

3.     REPRESENTATIONS & WARRANTIES

       (a)     Mutual Representations and Warranties of All Parties. Each Party represents and
warrants to each other Party that as of the date of this Global Settlement Agreement:

               (i)    subject to the Approval Orders, they have the requisite organizational power
and authority to enter into this Global Settlement Agreement and to carry out the transactions
contemplated by, and perform their respective obligations under, this Global Settlement
Agreement;

                (ii)    subject to the Approval Orders, this Global Settlement Agreement
constitutes a legal, valid and binding obligation of such Party, enforceable against such Party in


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accordance with its terms;

               (iii) the execution and delivery of this Global Settlement Agreement and the
performance of their obligations hereunder have been duly authorized by all necessary corporate
or other organizational action on their part;

                  (iv)    the execution, delivery, and performance by them of this Global Settlement
Agreement does not violate any provision of law, rule or regulation applicable to it or any of their
affiliates or its certificate of incorporation, bylaws or other organizational documents or those of
any of its affiliates; and

               (v)     before executing this Global Settlement Agreement, they have been fully
informed of its terms, contents, conditions and effects, they have had a full and complete
opportunity to discuss this settlement with their attorney or attorneys, they are not relying in any
respect on any statement or representation made by any other Party and no promise or
representation of any kind has been made to such Party separate and apart from what is expressly
contained herein to induce them into executing this Global Settlement Agreement.

4.     MISCELLANEOUS PROVISIONS

        (a)    No Admission of Liability. The undersigned Parties each acknowledge and agree
that the matters set forth in this Global Settlement Agreement constitute the settlement and
compromise of potentially disputed claims and defenses, that this Global Settlement Agreement is
not an admission or evidence of liability or infirmity by any of them regarding any claim or defense,
and that the Global Settlement Agreement shall not be offered or received in evidence by or against
any Party except to enforce its terms.

        (b)    Specific Performance. It is understood and agreed by the Parties that money
damages would be an insufficient remedy for any breach of this Global Settlement Agreement by
any Party and each non-breaching Party shall be entitled to seek specific performance and
injunctive or other equitable relief as a remedy of any such breach of this Global Settlement
Agreement, including an order of the Delaware Bankruptcy Court requiring any Party to comply
promptly with any of its obligations hereunder. Each Party also agrees that they will not (i) seek,
and will waive any requirement for, the securing or posting of a bond in connection with any Party
seeking or obtaining such relief or (ii) raise as a defense thereto the necessity of proving the
inadequacy of money damages as a remedy.

        (c)     Damages. Notwithstanding anything to the contrary in this Global Settlement
Agreement, none of the Parties or any of their respective successors or assigns shall make a claim
against, or seek to recover from, any other Party or the successors, assigns, affiliates, directors,
officers, employees, counsel, representatives, agents, or attorneys-in-fact of any of them for any
special, indirect, consequential, exemplary, or punitive damages or damages for lost profits in
respect of any claim for breach of contract or any other theory of liability arising out of or related
to this Global Settlement Agreement.

       (d)     Further Assurances. The Parties shall use their reasonable best efforts to take, or
cause to be taken, all appropriate action to do or cause to be done all things necessary under
applicable law, and to execute and deliver such documents and other papers, in each case, as may


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be required to carry out the provisions of this Global Settlement Agreement and consummate and
make effective the transactions contemplated hereby.

        (e)     Execution in Counterparts. This Global Settlement Agreement may be executed in
counterparts by one or more of the Parties and all such counterparts when so executed shall
together constitute the final Global Settlement Agreement, as if one document had been signed by
all Parties; and each such counterpart, upon execution and delivery, shall be deemed a complete
original, binding the Parties subscribed thereto upon the execution by all Parties to this Global
Settlement Agreement. Delivery of this signed agreement by facsimile transmission or
by .pdf, .jpeg, TIFF or other form of electronic mail attachment will be deemed effective as
delivery of a manually executed counterpart prior to and in the absence of manual delivery and
will be binding upon the Parties.

        (f)     Governing Law. This Global Settlement Agreement shall be governed by and
construed and enforced in accordance with the laws of the State of Delaware (without regard to
conflicts of law principles that would result in the application of any law other than the law of the
State of Delaware).

        (g)     Consent to Venue. The Parties irrevocably and unconditionally submit to and
accept the jurisdiction of the Delaware Bankruptcy Court for any action, suit or proceeding arising
out of or based upon this Global Settlement Agreement, and waives any objection that it may have
to the laying of venue in any such court or that any such court is an inconvenient forum or does
not have personal jurisdiction over it in connection with such an action, suit or proceeding.

        (h)     Notices. Any notices required hereunder shall be sent by certified mail, first class,
return receipt requested or by a nationally recognized overnight delivery service, and by email, to
the following:

               (i)     If to the Joint Liquidators:

                       Angela Barkhouse, Joint Liquidator
                       Toni Shukla, Joint Liquidator
                       Strathvale House, Level 3,
                       90 North Church Street, George town, PO Box 30847
                       Grand Cayman, Cayman Islands, KY1-12 angela.barkhouse@kroll.com
                       toni.shukla@kroll.com

               (ii)    If to Emergent:

                       MORGAN, LEWIS & BOCKIUS LLP
                       John C. Goodchild, III
                       Matthew C. Ziegler
                       1701 Market Street
                       Philadelphia, PA 19103
                       (215) 963-5000
                       john.goodchild@morganlewis.com
                       matthew.ziegler@morganlewis.com



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               (iii)   If to Fulcrum:
                       Fulcrum Distressed Partners Limited
                       111 Congress Avenue, Suite 2250
                       Austin, TX 78701-4044
                       sking@fulcruminv.com
                       tbennett@fulcruminv.com

                               with copies to:

                       BLANK ROME LLP
                       Rick Antonoff
                       1271 Avenue of the Americas
                       New York, NY 10020
                       rick.antonoff@blankrome.com


               (iv)    If to the FTX Debtors:

                       John J. Ray III
                       125 Broad Street
                       FTX Mail Room, 32nd Floor
                       New York, NY 10004
                       jray@greylockpartnersllc.com

                               with copies to:

                       SULLIVAN & CROMWELL LLP
                       Andrew G. Dietderich
                       Brian D. Glueckstein
                       125 Broad Street
                       New York, NY 10004
                       dietdericha@sullcrom.com
                       gluecksteinb@sullcrom.com

        (i)     Entire Agreement and Amendments. This Global Settlement Agreement
constitutes the entire agreement and understanding between and among the Parties concerning the
matters set forth herein and supersedes any prior agreements or understandings. This Global
Settlement Agreement may not be amended or modified, nor may any of its provisions be waived,
except in writing signed by the Parties bound thereby, or by their respective authorized attorney or
other representative.

        (j)     Severability. If any provision in this Global Settlement Agreement is determined
to be invalid, inoperative or unenforceable, the remaining provisions of this Global Settlement
Agreement remain in effect if both the economic and legal substance of this Global Settlement
Agreement are not materially affected in any manner adverse to any Party. Otherwise, the Parties
shall negotiate in good faith to rewrite any such provision so as to, as nearly and fairly as possible,
approach the economic and legal substance originally intended.


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        (k)      Assignment. Neither this Global Settlement Agreement nor any of the rights and
obligations of the Parties hereunder may be transferred or assigned by either Party without the
prior written consent of the other Party, which consent will not be unreasonably withheld, except
that each Party shall have the right to assign any or all of its rights and delegate any or all of its
obligations hereunder to any of its affiliates or any successor in interest (whether by merger,
acquisition, asset purchase, or otherwise), provided that no assignment to any affiliate or successor
in interest shall relieve or discharge the assigning Party from any of its obligations hereunder. Any
transfer or assignment in violation of this Global Settlement Agreement shall be void and of no
force or effect.

         (l)     Indemnification. In the event of the breach of this Global Settlement Agreement,
the breaching Party will indemnify and hold harmless the non-breaching Party and any of its
affiliates, officers, directors, employees, agents, and subsidiaries for any and all reasonable
attorneys’ fees, litigation expenses, and court costs arising out of or in connection with such breach.



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               IN WITNESS WHEREOF, the Parties hereto have caused this Global
Settlement Agreement to be executed by each of them or their duly authorized representatives on
the dates hereinafter subscribed.



                                    FTX DEBTORS


Date: August 14, 2024               BY:

                                    NAME: John J. Ray III

                                    TITLE: Solely in his capacity as Chief Executive Officer
                                           of the FTX Debtors


                                    JOINT LIQUIDATORS OF EMERGENT FIDELITY
                                    TECHNOLOGIES, LTD.


Date: August __, 2024               BY:

                                    NAME: Angela Barkhouse

                                    TITLE: Solely in her capacity as Joint Liquidator of
                                                  Emergent Fidelity Technologies, Ltd.


Date: August __, 2024               BY:

                                    NAME: Toni Shukla

                                    TITLE: Solely in his capacity as Joint Liquidator of
                                                   Emergent Fidelity Technologies, Ltd.


                                    EMERGENT FIDELITY TECHNOLOGIES, LTD.


Date: August __, 2024               BY:

                                    NAME:

                                    TITLE:




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               IN WITNESS WHEREOF, the Parties hereto have caused this Global
Settlement Agreement to be executed by each of them or their duly authorized representatives on
the dates hereinafter subscribed.



                                    FTX DEBTORS


Date: August __, 2024               BY:

                                    NAME: John J. Ray III

                                    TITLE: Solely in his capacity as Chief Executive Officer
                                           of the FTX Debtors


                                    JOINT LIQUIDATORS OF EMERGENT FIDELITY
                                    TECHNOLOGIES, LTD.


Date: August 19, 2024               BY:

                                    NAME: Angela Barkhouse

                                    TITLE: Solely in her capacity as Joint Liquidator of
                                           Emergent Fidelity Technologies, Ltd.


Date: August 15, 2024               BY:

                                    NAME: Toni Shukla

                                    TITLE: Solely in her capacity as Joint Liquidator of
                                           Emergent Fidelity Technologies, Ltd.


                                    EMERGENT FIDELITY TECHNOLOGIES, LTD.


Date: August 15, 2024               BY:

                                    NAME: Toni Shukla

                                    TITLE: Joint Liquidator
                                           For and on behalf of
                                           Emergent Fidelity Technologies, Ltd
                                           (in liquidation)




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                              FULCRUM DISTRESSED PARTNERS LIMITED


Date: August 15, 2024         BY:

                              NAME: Matthew Hamilton

                              TITLE: Authorized Signatory




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                                                                                       S
                                   Exhibit A

                           Emergent Proofs of Claim

Claim No.      Emergent Entity                       FTX Entity

3838           Emergent Fidelity Technologies Ltd.   Alameda Research Ltd.
4228           Emergent Fidelity Technologies Ltd.   FTX US Trading, Inc.
4236           Emergent Fidelity Technologies Ltd.   FTX US Services, Inc.
4237           Emergent Fidelity Technologies Ltd.   West Realm Shires Services Inc.
